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                                          CASE No. 25-2028



                      In THE UNITED STATES COURT OF APPEALS
                                 FOR THE NINTH CIRCUIT


                               ASHLEY M. GJQVIK, an z'ndz'vz'duaZ,
                                           P!az'nt   AppeZZant

                                                     v.
                                     APPLE INC ., 0 corporation,
                                           Defendant-Appellee.


                             On Appeal from the United States District Court
                                  for the Northern District of California
                                            No. 3:23-CV-04597
                                 The Honorable ]udge Edward M. Chen



                        APPELLANT'S OMNIBUS RESPONSE
              TO APPELLEE'S EMERGENCY OMNIBUS MOTION AT DKT. 23



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                                            INTRODUCTION
                    Appellant submits this consolidated opposition in response to Appellee's

             omnibus filing at Dkt. 23> which combines three distinct procedural motions: (1) a

             motion to strike Appellant's opening brief, (2) a motion to strike Appellant's

             declarations, and (3) a motion to compel disclosure of sealed materials.

                    Rather than filing these motions separately under ordinary timelines and

             procedures, Appellee filed all three in a single late-night motion - less than 72 hours

             before its response to Appellant's pending Motion for Injunction is due - and

             requested that the Court adjudicate all of them on an emergency basis within 24 to

             48 hours.

                    Appellant is pro se, disabled, and under resource constraints. She has

             responded in good faith but respectfully submits that the volume and urgency of

             Appellee's demands warrant a consolidated response - not three overlapping briefs,

             which would only consume more Court time and compound the stress already placed

             on this proceeding.

                    Accordingly, Appellant submits this brief pursuant to Circuit Rule 27-1(d),

             consolidated into 30 pages of text and 26 pages of exhibits, and requests leave to

             file in this form. If the Court prefers that Appellant divide her responses across

             separate filings, she will comply promptly upon request.



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                                          LEGAL STANDARDS
                    This Court has broad discretion to manage motions and responses in the

             interests of fairness and judicial economy. See Carver 7). Lehman, 558 F.3d 869, 876

             (9th Cir. 2009) ("District courts and appellate panels are entitled to manage their

             dockets with a view toward the efficient and expeditious resolution of cases.").

                     Motion to Strike: Motions to strike are disfavored and granted only in rare

             cases where the filing is both improper and prejudicial. See United States v. Heller,

             551 F.3d 1108, 1112 (9th Cir. 2009). Procedural or formatting errors - » especially

             from pro se litigants - - are not grounds to strike unless they undermine fairness or

             due process.

                    Motion to Compel / Service of Sealed Material: Under Circuit Rule 27-

             13(c), sealed materials must be served when practicable, but the rule contemplates

             reasonable redactions, judicial oversight, and discretion to balance safety and

             confidentiality. See Doe v. Ayers, 782 F.3d 425, 433 (9th Cir. 2015) (court may allow

             modified service or in camera review for sensitive materials) .

                     Motion for Extension of Time: Pursuant to FRAP 26(b) and 9th Cir. Rule

             31-2.2(b), the Court may extend deadlines upon showing of good cause. Extensions

             must reflect genuine need and cannot be used to prejudice an opponent or delay

             proceedings.

                    Pro Se Considerations: Pro se litigants are entitled to liberal construction of
                                                                                                 3
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             filings, and courts must evaluate their conduct under a standard of fairness, not

             formalism. See Baldwin v. County 0fSan Diego, 562 F.3d 1080, 1081 (9th Cir. 2009).



                                                 ARGUMENT
              1.    OPPOSITION To 30-DAy EXTENSION REQUEST
                    Appellant does not oppose a short extension of up to seven (7) days. However,

             Appellee's request for a full 30-day extension is unjustified, disproportionate to the

             circumstances, and unsupported by diligence.


                    A.APPLE'S REQUEST FOR 30 DAYS Is DISPROPORTIONATE AND
                      SELF-INFLICTED

                    Appellant notified Appellee on May 7 that she intended to file declarations.

             Rather than seek clarification or propose a stipulation, Apple responded on May 8

             that "nothing is due" and refused to engage further. (Dkt. 17-7, Exhibit A).

             Appellant filed her unsealed declaration on May 12, and her sealed declaration with

             motion to seal on May 13. Redacted versions were served on May 15. Apple waited

             until May 14     days before its filing deadline   to request emergency relief.

                    Appellee's own lack of diligence caused the delay it now claims justifies a

             month-long extension. This is not "good cause" under FRAP 26(b) or 9th Cir. R. 31-

             2.2(b) - it is a self-inflicted deadline crisis.


                    B. THE EXHIBITS AT ISSUE ARE FAMILIAR To APPELLEE AND
                       NOT VOLUMINOUS IN SUBSTANCE

                                                                                                 4
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             Appellee claims it needs more time to review "over 700 pages" of exhibits. This

             framing is materially misleading. The majority of the cited materials are:

                 •   Previously filed in the district court;
                 .   Authored or produced by Apple;
                 .   Publicly available; or
                 •   Known to Apple through prior discovery, administrative disclosures, or
                     litigation.
             Apple cites "over 700 pages" of exhibits as a reason for its extension request. But

             upon inspection, only three of the 717 pages contain any new information unfamiliar

             to Apple. The rest consists of documents already filed in the lower court, or materials

             Apple itself created or submitted, or public documents Apple has long been aware obi

                     See Table A and Exhibit B, summarizing sealed and unsealed declaration

             exhibits, including docket citations confirming their presence in the district court

             record.


             Table A: Summary of Declaration Exhibits

                                                                                  Public /
              Exhibit(s)       Pages          Type                 In Record?
                                                                                  Served?
              A (Privilege                    Apple's discovery
                           25                                      I   Served      v Yes
              Log)                            material
              B (Issue                        Apple investigated
                               35                                  V Yes           v Yes
              Confirm.)                       and cited
                                              ADHD/PTSD
              C (Medical) 3
                                              diagnosis            X New           X No
                                                                                                  5
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                                                                                    Public /
              Exhibit(s)        Pages        Type                 In Record?
                                                                                    Served?
              D-F                            Meet-and-confer
              (Transcripts)
                                125
                                             with Apple lawyers
                                                                  A Yes.            v Yes

                                             Apple-taken photos
              G (Photos)        6                               V Yes               V Yes
                                             of Appellant
              H-P (Blog
              posts, DO]                     Public docs or                         v Yes
              memo, OSHA        ~500+
                                             Apple's prior filings
                                                                   V   /   X
              docs, CFR
              comment, etc.)



             There are:

                .   ~400 pages are already part of the district court record.
                .   ~700 pages have been published or disclosed to Apple.
             Only three pages are arguably new - and even those are personal medical diagnoses,

             not evidence requiring extensive response.

                    Apple's 30-day request rests on a fiction. In reality, its lawyers are reviewing

             material they've had for years - much of which they created themselves. Many of

             the exhibits Apple objects to are not new submissions - they are integral to the

             record on appeal under FRAP 10(a). This includes:

                       Apple's own privilege log,
                       The DO] memo Apple previously sued Appellant over (Ex. P) >
                       OSHA filings submitted by Apple,
                       The Verge article Apple claims justified termination,
                       Meet-and-confer transcripts where Apple's own attorneys are speaking.
                                                                                                  6
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                    Apple asks the Ninth Circuit to strike hundreds of pages of its own litigation

             history - a request that is both improper and irreconcilable with appellate practice.

             Appellant is not attempting to expand the record or submit new evidence. She is

             reproducing previously admitted, served, or publicly litigated material to ensure the

             Court has full access to the context necessary for her Motion for Injunction.

                    Further, the exhibits not already on the record are not new to Apple. Among

             the declaration exhibits Appellee seeks to strike is the Declaration of Thomas je

             Bonniec, the former Apple contractor who blew the whistle on Siri-related

             surveillance and privacy abuses. Mr. je Bonniec's disclosures - originally ignored

             by Apple - triggered public outcry, regulatory scrutiny, and ultimately led to Lopez

             v. Apple Inc., No. 5:21-cv-07109-E]D (ND. Cal.), a certified privacy class action that

             recently settled for $95 million this year. That case was filed in this same district

             court, based on many of the same systemic practices Appellant raised in her

             complaints: unauthorized surveillance, retaliatory culture, retaliation and unlawful

             secrecy, and disregard for user and employee privacy.

                    This declaration was not offered to surprise or expand the record - it was

             submitted as part of the factual landscape that supports the injunctive relief sought

             under Rule 8. Apple has known of these issues for years and they received a copy

             from Plaintiff during january 2025 legal conference. To now object to this

             inclusion in a whistleblower's declaration - when they just paid nearly nine figures
                                                                                                 7
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             to settle similar allegations - strains credulity.


                    C.APPLE'S DELAY AND OBSTRUCTIONISM CAUSED THIS
                       CRIsIs
                    Had Apple engaged in a stipulation on May 7-8, or even raised a timely

             objection, these issues could have been addressed before deadlines approached.

             Instead, Apple refused to confer, claimed nothing was due, and filed a multi-pronged

             motion just days before its deadline, demanding urgent judicial relies This conduct

             reflects litigation by ambush, not by necessity. The Court should not reward it with

             thirty additional days of delay on an emergency motion.


                    D.APPLE'S EXTENSION REQUEST CONTRADICTS ITS PRIOR
                      FILINGS

                    Apple's claim that it does not understand how to respond to Appellant's

             brief or injunction motion is directly contradicted by its earlier position. On April 7,

             2025, Apple filed a Motion to Stay (or Dismiss) Appellant's Notice of Appeal.

             (Dkt. 5). Apple attached over one thousand pages of exhibits. On April 15, Apple

             filed a reply asserting that the entire appeal should be dismissed. (Dkt 12.1).

                    These filings reflect Apple's position that it has already analyzed the basis of

             the appeal; it considers the appeal defective or meritless; and it is prepared to

             litigate - or eliminate - the matter based on filings already on the docket.

                   Now, however, Apple asks the Court for 30 more days to respond to materials

                it claims are confusing, incomplete, overwhelming. These positions cannot be
                                                                                           8
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             reconciled. If Apple felt confident enough to seek outright dismissal a month ago, it

             cannot now credibly claim that it needs an additional month just to respond to the

             injunctive relief request. Apple cannot litigate this case both ways. If it had enough

             information to seek dismissal of the appeal in April, it has enough information to

             respond to the motion now - - especially after receiving redacted declarations and

             record materials it already possessed."

                    In other words, Apple previously asserted it was capable of litigating the appeal

                or disposing of it - - over a month ago. Now, after receiving confirmation of the

             same arguments and evidence it has litigated below, it seeks 30 more days to respond.

             Apple has already sought to dismiss this appeal in its entirety. Its claim that it now

             needs thirty additional days to figure out how to respond cannot be squared with its

             own procedural posture.


                    E. PROPOSED RESOLUTION

                    Appellee delayed seeking relief until the eve of its filing deadline, after

             declining opportunities to stipulate or coordinate. Appellee is not overwhelmed by

             evidence - it is overwhelmed by its own history. The exhibits at issue are not novel;

             they are Apple's words, Apple's documents, and Apple's litigation trail. Apple's

             refusal to engage, followed by a late-night omnibus motion, appears calculated to:

                    Delay resolution of the injunction motion;


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                   •   Overload Appellant with simultaneous procedural attacks; and

                   .   Reframe Appellant's good-faith filings as misconduct.

             This is not a good-faith request for time - it is procedural gamesmanship. Courts in

             the Ninth Circuit disfavor such tactics and require extensions to be tied to diligence ,

             not delay. See FRAP 26(b), 9th Cir. R. 31-2.2(b).

                       Appellant respectfully opposes the request for a 30-day extension. However,

             to eliminate any potential prejudice, she does not object to a 7-day extension, limited

             to Apple's response to the Motion for Injunction. Appellant asks the Court to deny

             the remaining relief sought in Appellee's omnibus motion.

             11.       OPPOSITION To MOTION TO STRIKE DECLARATION AS
                       UNTIMELY

                       F. THERE Is No RULE REQUIRING SAME-DAY FILING oF
                          SUPPORTING DECLARATIONS

                       Apple argues that Appellant's declaration must be stricken because it was not

             filed on the same day as her opening brief and motion. However, neither the Federal

             Rules of Appellate Procedure nor the Ninth Circuit local rules require that

             supporting declarations be filed concurrently with the related motion or brief, that

             Appellant is aware of.

                       Declarations are not pleadings; they are supporting evidentiary material, and

             courts regularly permit their filing within a reasonable window, provided they do not

             introduce new issues or prejudice the opposing party. See, e.g., United States v. Grace,

                                                                                                  10
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             526 F.3d 499 (9th Cir. 2008) (supporting material filed after motion deemed

             acceptable when used for context and not to raise new arguments) .


                    G.THE DECLARATION WAS FILED WITHIN A REASONABLE
                      TIMEFRAME AFTER NOTICE

             The appellant's filing timeline shows good faith, diligence, and notice:

                    May 6: Opening brief filed.
                    May 7: Appellant notified Appellee that declarations would follow and
                    offered to meet and confer; Appellee refused (Dkt. 17-7, Exhibit A, at pg10).
                    May 12: Unsealed declaration filed.
                    May 13: Sealed declaration filed (with contemporaneous motion to seal).
                    May 14: Appellee demands immediate copies of sealed declaration and
                    exhibits .
                .   May 15: Redacted versions served on Appellee.

             Appellee had advance notice of the filings, declined to engage despite invitations to

             confer, and did not object to the timing until a week later. Any prejudice now claimed

             is of Apple's own making.


                    H.     THE DECLARATION WAS NECESSARY To SUPPORT
                         EXTRAORDINARY RELIEF

                    Appellant's declaration supports her motion for injunction pending appeal,

             which requires a showing of irreparable harm, likelihood of success, and public

             interest under Winter 7). NRDC, 555 U.S. 7 (2008). As a pro se crime victim and

             whistleblower, Appellant's personal testimony and factual grounding were necessary


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             to satisfy this evidentiary burden.

                    Courts routinely allow declarations in Rule 8 motions, even if not part of the

             original district court record, particularly to support claims of harm arising during or

             after the appeal process began. See Doe #1 v. Trump, 957 F.3d 1050 (9th Cir. 2020).

             The declaration did not expand the scope of the appeal or introduce new claims

             it supported the procedural relief already requested.


                    I. APPELLANT Is PRO SE AND ACTED IN GooD FAITH

                    Appellant is a pro se litigant with complex PTSD, ADHD, and autism - all

             of which affect her capacity to finalize and structure sensitive factual material under

             stress. She worked non-stop to meet the filing deadlines and made a good-faith

             judgment to prioritize timely submission over editorial perfection. Haines 7). Kernel,

             404 U.S. 519 (1972).

                    Appellant's law school grades confirms that while she performed well overall,

             she was graduating on the Dean's List, in the top 20% of her class, and receiving a

             Certificate in Public International Law with Honors - her lowest grades were in

             litigation-related courses:

                    Civil Procedure I: C+
                    Evidence: C
                    Legal Research & Writing I: C+
                    Legal Research & Writing II: B


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             These are the core courses where U.S. lawyers are introduced to courtroom process,

             drafting, and evidentiary rules. Appellant struggled most in exactly the areas where

             litigation skills are traditionally taught - further proving that her strengths,

             interests, and training lie elsewhere. The transcript does not show legal combat

             readiness. It shows a student who excelled at ideas - not litigation.

                    Appellant notified Apple in advance, met the critical deadline for her motion,

             and filed the declaration within a week - well within what the courts typically accept

             for supporting materials. Appellant's intent was not to surprise or burden Apple, but

             to fulfill her duty to support her claims with a clear factual background. Baldwin v.

             CO/. of San Diego, 562 F.3d 1080, 1081 (9th Cir. 2009) - Pro se filings are to be

             construed liberally and given procedural leniency when made in good faith.

                    In preparing these filings, Appellant had to relive and document intensely

             traumatic events, under immense time pressure, with no legal support. She did as

             best she could, working alone and with a documented disability that affects executive

             function. Filing the declaration a few days after the brief was not an attempt to game

             procedure - it was a reflection of personal, medical, and logistical limits.

            111.    RESPONSE To MOTION TO STRIKE BRIEF FOR WORD COUNT
                    VIOLATION

                    _]. APPELLANT ACKNOWLEDGES THE BRIEF MAY HAVE
                        EXCEEDED WORD COUNT, BUT NOT IN BAD FAITH

                    Appellant respectfully acknowledges that her May 6, 2025 opening brief may
                                                                                                13
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             have exceeded the applicable word-count limit under FRAP 32(a) (7) and 9th Cir. R.

             32-1(a). However, this was not the result of an attempt to mislead the Court or burden

             Appellee - it was a consequence of limited time, medical barriers, and the pressure

             of meeting a hard deadline while managing the case alone.

                    Faced with the choice of filing an imperfect brief on time, or risking dismissal

             by filing a perfect one late, Appellant chose to file on time. She believed that was the

             lesser procedural risk, based on repeated messaging by the Court that untimely briefs

             are not accepted.

                    Appellant worked continuously for several days, and attempted to format the

             brief properly, including reducing spacing to attempt compliance. She concedes that

             the formatting may have failed to meet strict compliance, but the decision was driven

             by urgency - not strategy.


                    K.APPELLANT'S DISABILITIES AND TRAUMA AFFECTED BRIEF
                      DRAFTING AND LENGTH

                    Appellant previously disclosed - both in this appeal and in the record - she

             lives with complex post-traumatic stress disorder (C-PTSD), autism spectrum

             disorder (ASD), and attention-deficit/hyperactivity disorder (ADHD).

                    These conditions are well-documented to impair the ability to summarize

             without losing critical nuance, to exclude contextual information that feels essential

             to safety and credibility, and to accurately estimate time, length, or procedural

                                                                                                  14
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             formality under stress.

                    In individuals with C-PTSD, heightened threat sensitivity and memory

             integration issues often lead to expanded narrative outputs as a means of establishing

             safety, coherence, and control over lived experience (see Cloitre et al., 20123

             Herman, Trauma and Recovery, 1992).1 People with ADHD experience impairments

             in executive functioning, including difficulties with editing, planning, task duration

             estimation, and prioritization of ideas (Barkley, 2015).2 Those with autism may have

             a strong need to fully explain context or factual nuance to feel understood, leading to

             longer, detail-rich expression that may exceed normative formats (Kapp, 2020;

             American Psychiatric Association, DSM-5-TR, 2022).3

                    The brief was written without any human assistance, over a period of days,

             during which Appellant was recounting intensely traumatic events. She respectfully

             asks the Court to understand that verbosity in this context is not litigation

             misconduct - it is survival mode. And she acknowledges that what was intended as




             1 Cloitre, M., Courtois, C. A., Charuvastra, A., Carapezza, R., Stolbach, B. C., &
             Green, B. L. (2012). Treatment of oomplex PTSD: Results of the ISTSS expert
             olinioian survey on best praotioes. Journal of Traumatic Stress, 24(6), 615-627.
             Herman, ]. L. (1992). Trauma and Recovery. Basic Books.
             2 Barkley, R. A. (2015). Attention-Defioit H3/peraotivity Disorder: A Hanabookfor
             Diagnosis and Treatment (4th ed.).
             3 American Psychiatric Association. (2022). Diagnostic and Statistical Manual of
             Mental Disorders (sth ed., text rev.). DSM-5-TR. Kapp, S. K. (Ed.). (2020).
             Autistic Community and the Neuroaiversity Movement: Stories from the Front Line.
             Palgrave Macmillan.
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             clarity may have pushed past the limit unintentionally. The length of the brief was

             not about strategy - it was about trauma, timing, and doing the best she could alone.


                    L. APPELLANT Is WILLING To CURE oR COMPLY WITH ANY
                       INSTRUCTION FROM THE COURT

                    Appellant is not seeking to avoid responsibility for length compliance. She will

             follow whatever remedial path the Court believes is appropriate, including filing a

             corrected version of the brief under the word limit with standard formatting;

             accepting the Court's discretion to disregard any excess content; or any other

             solution the Court directs. Appellant only objects to the idea that the current filing

             should be stricken or treated as bad faith. She did not attempt to "game the system."

             She attempted to survive it.


                    M.   NINTH CIRCUIT PRECEDENT SUPPORTS DISCRETION,
                       ESPECIALLY FOR PRO SE LITIGANTS

                    The Ninth Circuit recognizes the importance of flexibility in form where no

             prejudice has occurred. Under FRAP 32(f) and Circuit Rule 32-1(d), the Court has

             discretion to accept an overlength brief and to impose remedies less drastic than

             striking. Particularly for pro se litigants, the Circuit has repeatedly emphasized the

             need for procedural leniency. See:

                • Baldwin 7). County 0fSan Diego, 562 F.3d 1080 (9th Cir. 2009),

                .   Meyers v. Ric/eenbac/eer Group, 292 F.3d 1179, 1183 (9th Cir. 2002) .


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             The brief was not excessive in spirit - only in final formatting. Appellant simply asks

             the Court to permit her a good-faith opportunity to revise, if the Court deems it

             necessary.


                    N.APPELLANT HAS No LITIGATION TRAINING, EXPERIENCE,
                      OR PROFESSIONAL BACKGROUND

                    Appellee implies that Appellant's legal education disqualifies her from pro se

             consideration, or that she should be treated as a trained attorney because she holds a

             ].D. That position is factually wrong and legally improper.

                    Appellant earned her J.D. with a concentration in human rights law and

             graduated with a Certificate in Public International Law with honors. These fields are

             doctrinal, policy-oriented, and rarely involve litigation - let alone domestic civil

             procedure, motions practice, or appellate briefing in U.S. courts.

                    Appellant has never practiced law. She has never worked in litigation, civil

             procedure, trial practice, or appellate briefing. She has never drafted or filed a motion

             in court before starting this litigation with Apple in 20213 never written or responded

             to discovery requests; never conducted depositions; and never received formal

             instruction in trial strategy, courtroom procedure, etc.

                    The appellant is not admitted to the bar and has never held herself out as

             counsel. She is not "appearing as an attorney. She is appearing because she has no
                                                             >>




             other option and is navigating trauma, disability, and retaliation - not with legal

                                                                                                   17
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             training, but with personal truth.

                    Appellant has never taken a deposition, drafted a discovery request, argued a

             motion, or participated in U.S. litigation from the role of counsel. She has also never

             been employed in a litigation practice or trained by a firm. As such, she is functionally

             indistinct from any other pro se party - except that she must overcome not only

             systemic barriers, but misplaced assumptions about her competence. A human rights

             ].D. is not a litigation license - it is a passport to policy work. Appellant's education

             did not prepare her for this arena and should not be held against her now.

                    A law degree alone does not create litigation proficiency - particularly when

             the degree is not oriented toward litigation at all. Courts must look at practical

             experience, not credentials. Appellant's experience is indistinguishable from other

             pro se litigants, and she is entitled to the same interpretive grace. See Baldwin v.

             County ofS4zn Diego, 562 F.3d 1080 (9th Cir. 2009); Woods 7). Corey, 525 F.3d 886 (9th

             Cir. 2008).


                    O.APPELLANT WAS TRAINED IN HUMAN RIGHTS, POLICY, AND
                      NARRATIVE-CENTERED LAW

                    While Appellant was not trained in litigation, she did receive rigorous training

             in a very different legal tradition - one that makes her pro se experience even more

             jarring. Appellant focused her legal education on international human rights law,

             receiving a Certificate in Public International Law with Honors. (See Exhibit A for

                                                                                                   18
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             her formal transcript) .

                    Appellant's transcript further confirms that she excelled in coursework

             centered on justice, equity, public policy, diplomacy, and international legal

             systems. Her best grades came in courses including the following, and related

             articles she's published are footnoted as example work below.

                            International Law 4
                            International Human Rights Law; 5
                            International Environmental Law 6
                            Public Health Law 7
                            Administrative Law
                            Labor Law & Employment Discrimination Law 8
                            Restorative ]ustice 9


             4 Ashley Gjovik, Econ Masle's "City-State" on Mars: An International Problem,
             May 15 2021, Modern Diplomacy, https://moderndiplomacy.eu/2021/05/15/elon-
             musks-city-state-on-mars-an-international-problem/
             5 Ashley Gjovik, Chagos: An Achievement in Self-Determination with 61 Treaeheroas
             Path to Decolonization, Modern Diplomacy, March 23 2021.
             https://moderndiplomacy.eu/2021/03/23/chagos-an-achievement-in-self-
             determination-with-a-treacherous-path-to-decolonization/
             6 Ashley Gjovik, Groandwater Rise: An International Problem that California Mast
             Solve, Citizen Yang: Law and the Environment, April 22 2021,
             https://citizenyang.com/2021/04/22/groundwater-rise-an-international-
             problem-that-california-must-solve/
             7 Ashley Gjovik, I thought I was dying: My apartment was hailt on toxic waste,
             March 26 2021, https://sfbayview.com/2021/03/i-thought-i-was-dying-my-
             apar tment-was-built-on-toxic-waste/
             8 Ashley Gjovik, Whistleblowers Are the Conseienee of Society, Yet Suffer Gravely
             for Trying to Hold the Rich and PowerfalAecoantahle for Their Sins, April 30 2023,
             LLRX, https://www.llrx.com/2023/04/whistleblowers-are-the-conscience-of-
             society/
             9 Gjovik, A. (2023). Living in the shadows. Index on Censorship, 52(2), 70-71.
             https://doi.0rg/10.1177/03064220231183827 ("Girls have historically been
                                                                                             19
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             Her electives - all self-selected - - were focused on public systems, human rights,

             and non-adversarial problem solving.

                    In Summer 2021, while Apple was retaliating against her, Appellant studied

             abroad at the University of Oxford, focusing on the English justice system and

             completing a one-on-one tutorial in Transitional ]ustice under a professor who had

             served on international criminal tribunals. The focus of that work was how nations

             recover from mass atrocity and dictatorship; how communities seek truth without

             punishment; and how law can be used to rebuild trust, not win arguments. She

             earned an "A" and was commended for her insight. But none of this involved

             litigation. It was law as repair - not combat.

                    That fall, Appellant worked remotely as a human rights caseworker for the

             Asylum Seeker Resource Centre in Australia, helping develop legal documents and

             narrative evidence for people fleeing persecution. Her work involved writing trauma-

             based memos, assembling country condition reports; and working with clients

             through complex, emotional storytelling. Asylum applications regularly exceed 1,000

             pages, and require emotional intelligence, narrative coherence, and ethical clarity

             not procedural aggression. They are law as empathy - and that is the legal practice

             Appellant was trained for.


             overlooked in autism diagnoses. This has led to many hiding their true selves.
             Ashley Gjovik opens up.").
                                                                                                   20
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                    As part of her ].D. program, Appellant completed a faculty-supervised

             independent research project on the history of Hawaiian sovereignty, colonization,

             and Indigenous reparations. The project was undertaken for academic credit under

             the supervision of her Property Law professor and produced a draft manuscript

             exceeding three hundred pages. It drew upon more than one hundred scholarly

             works, legal texts, and primary historical sources.

                    Appellant also conducted interviews as part of her research - including a

             meeting with a Hawaiian princess and descendant of a!z"z' - to better understand

             Native Hawaiian perspectives on sovereignty, colonial violence, and land restitution.

             The project explored legal and non-legal modes of redress, including land back

             initiatives, cultural preservation, transitional and restorative justice frameworks, and

             Indigenous-led political organizing.

                    This research was not focused on litigation or adversarial procedure. It was

             about uncovering buried histories, amplifying silenced truths, and examining how

             justice can be restored outside of courts. Appellant spent her final year of law

             school writing about human rights - not the filing of motions. That is what she

             was trained to do. That is the version of the law she carries into this appeal.

                 As far back as 2021, Appellant described her situation not in legal jargon, but in

               the language of transitional justice, with Gjovik writing in Business Insider in 2021:

                    When I consider how Apple may remedy its relationship with its
                                                                                                  21
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                    employees, I think about my studies at the University of Oxford this
                    summer: I studied transitional justice, or how to rebuild societies
                    following authoritarian dictatorships with systemic human-rights
                    violations.

                    I wonder: If Apple is another kind of state, should we hold it accountable
                    as we would a recovering dictatorship? Doing so would require us to
                    recognize that employees in big tech - from retail to corporate workers
                        are essentially the subjects of arbitrary private governments, a
                    situation that needs to be rectified through organizing and regulation .. ..

                    Collective bargaining and unionization may allow workers a greater
                    voice at the company and instill a bill of rights that preserves their basic
                    dignity, but Apple has been unsurprisingly resistant to this type of
                    worker organizing.

                    Truly holding Apple accountable like a nation-state would require the
                    company to redress wrongdoings past and present and hold its
                    perpetrators responsible.

                    A method for doing so can be found in the three A's in the training
                    manual of all Apple retail employees: acknowledge, align, and assure.
                    Apple's executives could acknowledge the validity of employees'
                    concerns over these systemic issues, agree they'd also be concerned if
                    they were in our shoes, and then assure us they'll resolve the issues.

                    If my firing is any indication, they won't do so willingly.

                    [A spokesperson for Apple told Insider: "We are and have always been deeply
                    committed to creating and maz'ntaz'nz'ng a positive and inclusive workplace.
                    We take all concerns seriously and we thoroughly investigate whenever a
                    concern zS razSea and, out of respect for the privacy of any z'naz'vz'aaals
                    involved, we to not azScass spec@€c employee matters.']


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             Business Insider, Sept. 2021.10


                    This is not a litigant trained for war. It is a person pleading for repair. Her legal

             actions now are a continuation of that same effort to seek truth - not an abuse of

             process. Appellant was not trained to win - she was trained to bear witness.

                    The legal education she received taught her how to help the vulnerable, not

             silence them. Her work was about truth, not tactics.

                    To now punish her for not practicing law she was never taught - based on a

             false assumption she was taught it - is not only unjust but also inverted. It asks her

             to be everything she was never meant to be, while denying her the space to be exactly

             what she is: a survivor with a voice, doing her best to make the law do what it was

             supposed to do in the first place - deliver justice.


                    p. APPLE'S PROCEDURAL ATTACKS ECHO THE SAME CONDUCT
                       APPELLANT Is APPEALING

                    Appellee's motion to strike the brief over word count is not a neutral request

             for rule enforcement. It is part of a broader strategy to discredit Appellant based on

             the same hyper-technical procedural rigidity that is the subject of this appeal.

                    One of Appellant's core arguments is that the district court applied excessive



             10 Ashley Gjovik, I was fireafrom Apple after making several labor complaints
             against the company. Speaking oat feels like going uP against a powerful government,
             Business Insider, Sept. 16 2021, https://www.businessinsider.com/ashley-gjovik-
             apple-fired-workplace-safety-sexism-harassment-2021-9
                                                                                                      23
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             formalism and procedural severity to dismiss valid claims brought by a whistleblower

             and crime victim. That court denied leave to amend, ignored statutory protections,

             and issued multiple orders that failed to account for Appellant's pro se status and

             documented trauma. Appellant's appeal directly challenges those rulings as unfair,

             abusive, and hostile to justice. Now, rather than engage with the merits of that appeal,

             Appellee seizes on an alleged formatting misstep to suggest that Appellant should

             again be punished - this time by the Ninth Circuit - before the very appeal on that

             issue is heard.

                    Apple is asking the Court to repeat the same procedural rigidity that Appellant

             is appealing as fundamentally unjust. The suggestion that this formatting violation

             alone warrants a strike is not about rules - it is about silencing a vulnerable party.

             Appellant respectfully asks the Court not to let a brief filed in good faith - by a

             disabled, pro se litigant, working against enormous odds - be used as a weapon to

             discredit the integrity of the entire appeal.

            Iv.     OPPOSITION To MOTION TO COMPEL PRODUCTION OF
                    SEALED DECLARATION MATERIALS

                    Q.APPELLANT HAS Now SERVED REDACTED VERsions IN
                      GooD FAITH

                    Appellee's claim that Appellant "refused" to serve the sealed declaration is

             moot. On May 15, Appellant served redacted versions of the sealed declarations on

             Appellee. The redactions are limited, specific, and legally justified, modeled after
                                                                                                  24
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             federal standards (e.g., FOIA exemption labels), and were made to protect ongoing

             communications with federal law enforcement, Attorney-client privileged materials,

             and personal financial data.

                    Appellant     also   filed   the   redacted   version   publicly    with   this

             opposition/response, providing public notice of the issues discussed, satisfying both

             Appellee's stated desire for transparency and Appellant's right to privacy and

             protection. Appellant has not concealed information - she has protected it.

             Appellee is not entitled to privileged, investigatory, or trauma-based details simply

             because they appear in a declaration.

                    Appellant respectfully proposes the Court accept redacted versions as

             sufficient for procedural notice and opposition purposes and asks the court to still

             grant her Motion to Seal her prior version; perhaps "replacing the current
                                                                                   >>




             version with the redacted version for the court's purposes but keeping the first

             version protected.

                    If the Court deems any portion should be disclosed, Appellant requests the

             Court permit renewed motion practice or a protective order, rather than compel

             disclosure immediately. This strikes a balance between Appellant's rights and

             Appellee's procedural needs, without sacrificing safety, dignity, or federal

             protections.



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                    R.THE REDACTIONS ARE NARROWLY TAILORED AND
                       LAWFULLY PROTECTED

                    The redacted portions fall into three categories, each with its own legal

             protection:

                    Group 1: Law Enforcement / Government Communications. Includes
                    emails and records of communications with EPA, FBI, etc. Protected under 18

                    U.S.C. §1512(b)(3) (anti-obstruction), 18 U.S.C. §3771 (CVRA), Marsy's Law

                    (state-level victim protections), Federal policy favoring confidentiality in
                    active investigations.
                    Group 2: Attorney-Client Communications. This group includes reflections

                    on advice from past legal counsel and documents protected by work product
                    and standard attorney-client privilege. These were not waived wholesale -
                    Appellant seeks only to explain why counsel was unavailable or unsafe, not

                    litigate new legal theories.
                    Group 3: Personal Medical and Financial Disclosures. Includes

                    information to show inability to afford basic legal representation or legal
                    resources. It's protected by privacy interests and partially redacted only to
                    remove granular detail (like account numbers), not to conceal impact.

                    s. APPLE REFUSED TO CONFER OR ACCEPT REASONABLE
                        ALTERNATIVES

                    Appellant offered Apple notice and an opportunity to confer on May 13. Apple

             stated nothing was due, declined to engage, then filed a motion claiming surprise and

             non-service. Apple made no attempt to discuss redactions, propose a protective
                                                                                               26
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             order, or request an attorney's-eyes-only version. It simply demanded full,

             unredacted production - and moved to compel before the Court had even ruled on

             the sealing motion. Apple's motion is not about fairness. It is about control,

             intimidation, and obtaining sealed materials outside proper process.


                    T.THIS COURT SHOULD NOT COMPEL DISCLOSURE OF
                       PROTECTED INFORMATION

                    Appellee has shown no legitimate need for the redacted details. Their only

             articulated reason is "notice"        and they have that. What they seek now is

             unrestricted access to:

                       .    Ongoing law enforcement contacts,
                       .    Prior confidential counsel relationships,
                       .    Personal financial hardship and trauma disclosures.
             Compelling full production would risk chilling protected whistleblower activity and

             undermining victim protections. Appellant's redactions are limited and proportional.

             She is not asking to keep the Court in the dark - she is asking the Court to see the

             full material but protect her from harm.


                    U.APPLE'S MOTION SHOULD BE DENIED IN PART oR
                      DEFERRED

                    Apple's motion to compel should be denied as to full, unredacted production.

             Appellee claims it cannot adequately respond to Appellant's motion or brief without

             full access to the sealed declaration. But upon inspection, the content would change

                                                                                              27
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             nothing about Apple's legal position           unless it intended to make wildly

             inappropriate and implausible arguments.

                    Group 1 materials consist of confidential communications with DO] and other

             agencies about Apple's conduct and open investigations. Unless Apple intends to

             argue that Appellant is not actually a whistleblower, actually a victim, or actually an

             informant - and plans to weaponize federal investigatory material to discredit her

                these documents have zero impact on their opposition.

                    Group 2 consists of deeply personal complaints about ineffective counsel:

             emails showing that Appellant's lawyers refused to litigate basic issues, refused her

             instruction, and repeatedly violated civil procedure rules and requirements. These

             are not only litigation strategy documents - they're cries for help. Their only

             relevance would be if Apple wants to argue that these messages somehow prove

             Appellant is a trained attorney or doesn't deserve pro se leniency - which would

             again be absurd.

                    As for Group 3 - Appellant's financial hardship - she already disclosed the

             basic details in her public declaration and offered to serve redacted records. Unless

             Apple intends to argue the documents show that Appellant is secretly wealthy, they

             ofter no substantive value. The real harm here is not Apple's imagined prejudice

             it's the coercive attempt to invade protected material that Apple already knew had

             no bearing on the issues at hand.
                                                                                                 28
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                    The Court may defer further ruling on the sealed materials until it resolves the

             motion to seal, which governs their status. Until then, Apple's claim of procedural

             disadvantage is hypothetical and premature.


                                         RELIEF REQUESTED
             Appellant respectfully requests that the Court:

                1. Deny Appellee's Motion to Strike Appellant's opening brief, and accept the

                    filing as submitted, or in the alternative, grant Appellant leave to revise and

                    refile the brief to comply with formatting or length requirements.

                2. Deny Appellee's Motion to Strike Appellant's declarations as untimely, and

                    accept the declarations as filed in support of Appellant's Motion for

                    Injunction.

                3. Deny Appellee's Motion to Compel fun, unredacted service of sealed

                    materials. Appellant has now served redacted versions in good faith and

                    requests that the court accept redacted service as sufficient; allow further

                    briefing only if the Court finds disclosure is required; and defer ruling on

                    sealed content until the pending Motion to Seal is resolved.

                4. Deny Appellee's Request for a 30-Day Extension, and instead, grant a

                    limited 7-day extension to allow Appellee to respond to any newly served

                    material if the Court deems it necessary.


                                                                                                 29
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                5. Approve Appellant's Motion to Seal the first version of her sealed

                    declaration; and revise her Motion to Seal to also include the redactions in her

                    second version filed May 15 2025.

             Appellant further requests any additional relief the Court finds appropriate to

             maintain procedural fairness, protect the integrity of the record, and ensure that pro

             se, disabled, or trauma-affected litigants are not held to standards they were never

             trained or resourced to meet.


                                              CONCLUSION
                    This is not a case about gamesmanship. It is not a case about tactics, delay, or

             manipulation. It is about a whistleblower, a disabled survivor, standing alone in front

             of a billion-dollar corporation and saying: please hear me ouzo Appellant has done her

             best to meet the rules. Where she has fallen short, it was never out of disrespect. It

             was out of trauma, time, pressure, and lack of support. And every step of the way,

             Appellee has responded not with fairness, but with force - seeking sanctions,

             strikes, and exclusion, rather than conversation, stipulation, or equity.

                    The relief Appellee seeks here is not about procedural clarity. It is about

             erasure - of context, of record, of truth. Appellant asks the Court to see this motion

             for what it is: a final effort to control the narrative, silence a voice, and avoid

             accountability. Appellant has already lost her job, her health, and her safety. She asks


                                                                                                  30
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             the Court not to now also take her story.



             Dated: May 15 2025




                                                                       Ashley M. Gjuvik
                                                                       /s/ Ashley M. Gjovik
                                                                       Pro Se Appellant




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                                                EXHIBITS




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                  V. EXHIBIT A: LAW ScHooL
                                         TRANSCRIPTS




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                                                                                                                                  Page 1
                                                          OFFICIAL ACADEMIC TRANSCRIPT

                                                                           Ashley GJovlk
                                                          Student ID: _
                                                                                              Print Date:   12/23/2022




         Send To:      Ashley Gjovik




                                                                           Degrees Awarded

                                        Juris Doctor
         Confer Dain:                   05/17/2022
         Certificate: lntemational Law , public International Law Specialization ,with Honors


                                                                           Academlc Program

                                       Law Evening
                                       Completed Program
                                       Juris Doctor Major

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                                                          OFFICIAL ACADEMIC TRANSCRIPT

                                                                          Ashley GJovlk
                                                         Student ID-
                                                                  Spring 2020 (01/13/2020 - 05/20/2020)
         Due to the COVID-19 pandemic, Spring 2020 grading was mandatory Pass no Pass, except for grades previously posted for courses completed early in the
         semester.

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                                                Duane Voight, University Registrar
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                                                        Ashlev Glovlk
                                          Student ID:


                                               Spring 2022 (01/10/2022 - 05/17/2022)

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                            lntemationd Human Rights



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   letter grades thus providing for the following marks and numerical equivalents'            or "Honors" notation. Completion of the proglaun is reflected on the tianscript.
    A      4.0   Exoell
                     HI t                P       Passd
    A-     3.7                           NP      Not Passed                                                                     CLASS RANK
    B+     3.3                           AUD     Audit                                          Class rank is available in the School of Law. Class rank became avauilablc for
    B      3.0   Good                    l       Incomplete                                   undergraduate students at the end of fall 2002.
    B-     2.7                           N       Continuing Work
    C+     2.3                           NR       Not Rqaorted (obsolete as of Fall 2007)                                     SCHOOL OF LAW
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    C-     1.7                           w        Withdrawn
    D+     1.3                           +/-      T8iken for emichmenm only (obsolete as      Grade Scale for JD and LL.M. Degree Programs
    D      1.0   Barely Passing                   of Summer 1981)                             Eawive Fill 1021
    D-     0.7                                                                                        A+     =     4.33                 CR        Credit*
    F      0.0   Not losing                                                                           A      =     4.00                 NC        No Credit*
                                                                                                      A-     =     3.67                 P         Pass"
     A student's grade point avenge is deterwnnixned by dividing the total grade points by            B+     =     3.33                 NP        No Pass' *
   tube number of units graded.                                                                       B      =     3.00                 I         Incomplete
      All programs, except the School outLaw, use a4.0 grading system. Grade values and               B-     =     2.67                 AUD       Audit
   what constitutes a passing grade may varry by individual graduate progranri. For                   C+     =     2.33                 NR        Not Reported
   additional inforrnarion regarding grading practices in the various graduate programs,              C      =     2.00                 N         Continuing Work
   please refer to the appropriate bulletin.                                                          c-     =     1.67                            (e.g., year-long course)
     Effective Septanber 1969: A new grade "C+" (with a numerical equivalent of 2.5                   D+     =     1.33
   grade points) was added to the extant letter grades referenced below.                              D      =     1.00
     Prior to S4>tember 1969: A = Excellent (4.0); B = Good (3.0); C = Average (2.0); D               D-     =     0.67
   = Inferior (l.0); F = Failed (0.0); W = Withdrawn; WF = Withdrawn Failing; WP =                    F      =     0.00
   Withdrawn Passing
                                  CALENDAR SYSTEM                                             Prior (0 Fd]2022
      Undergraduate and graduate programs have been on the quarter system beginning in
                                                                                                      A           4.33                  CR         Credit*
   September 1964 to the present time. Prior to fall 1972, undergraduate credit was                   A-          4.00                  NC         No Ciedit*
   awarded according w the number ofter courses completed. Known as the Santa Clara                   B+          3.67                  P          Pass' •
   Plan, this system lequixed 40 telm oouxses. (For conversion, lower division courses
                                                                                                      B           3.33                  NP         No P8550
   were equated to 4.0 quarter units and upper division to 5.0 quarter units.) Graduate               B-          3.00                  I          Incomplete
    course work has been posted in quarter units since fall 1964; lmdelgtaduate course work
                                                                                                      C+          2.67                  AU D       Audit
   has been posted in quarter emits since fall 1972.                                                  C           2.33                  NR         Not Reported
                            COURSE NUMBERING SYSTEM                                                   c-          2.00                  N          Continuing Work
                            (all programs except School of Law)                                       D+     -    1.67                             (c.g., year-long course)
                 001099            Lower division, undergraduate                                      D           1.33
                 100-199          Upper division, undem8raduaxe                                       D-     _    1.00
                 200 and above    Giadualze                                                           F           0.00
                 X001-999         PmiksWonal Growth Non-Degmee Credit
                                                                                              *CR, NC: Course offered only on credit/no cldit basis.
                 CONTINUING EDUCATION/NON-DEGREE CREDIT                                       "P, N/P: Swdcms may choose to take non-required courses that are normally graded
      X is used as a prefix to the course number to designate all continuing education        A through F on a P/NP basis.
   (professional swash) courses. Continuing education courses earn non-academic credit.                                      CALENDAR SYSTEM
   One Continuing Education Umlt (CEU) is equal to ten contact hours of pslticipation in        The School of Law (with the exception of the MLS degree program which is on the
   an organized, professional growth experience.                                              quarter system) is on a semester sysuzrn. Between September 1964 and August 1968,
                                                                                              the law school was on the quarter system.


                                                                       INSTITUTIONAL ACCREDITATION
    Santa Clam University is accredited by the Wcstem Association of Schools and Colleges. A complete listing of all other inaitutioml accreditations can be found in the University
    graduate, law and undclgiaduatc bulletins.
                                                       IMPORTANT NOTICE TO REcrplEnrs OF SCU TMNSCRIPTS
   In Septerrulrer 1999, Santa Clara University installed a new Student: Information System. Academic records &am June 1988 to August 1999 were migrated to a new system.
   Effective January 2000, academic transcripts for all records from 1988 to presait have been generated from this system. Accumulated units and the grade point average for a
   student's academic program prior to 1988 are reflected in dmc pine-computer summary linc appwring at the top of the computer-generated transcript. Detailed academic history for
   terms prior to Summa Session 1988 is recorded on the student's permanent record card. The official transcript of prior work is a certified photocopy of the pernnarnait record
     and.
                                                                         TRANSCRIPTS ISSUED TO STUDENTS
   Official transcripts released to students will be in a sealed transcript envelope. Such transcripts are official only iftbe seal is intact.




      2z0230
(42 of 62), Page 42 of 62   Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 42 of 62




                       VI. EXHIBIT B: TABLE oF
                              DECLARATION EXHIBITS




                                                                                       34
(43 of 62), Page 43 of 62   Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 43 of 62



                                  PAGE     USDC         FILE     OTHER
                EXHIBIT                                                                  FILED By
                                  s        ECF          D By     DISTRIBUTION

                APPLE'S                                                                  Apple
       A                          25       n/a          n/a      Served
                PRIVILEGE LOG                                                            (March 27 2025)
                                           Dkt.
                                           32, 32-1,             Apple Business
                ISSUE                      32-2                  Conduct Complaint       Gjovik
       B                          35                    Gjovik
                CONFIRMATION               (Second               No. HRC000017207        (Aug. 23 2021).
                                           Amend.                (Aug 23 2021).
                                           Complaints
                MEDICAL
       C                          3        n/a          n/a      n/a                     n/a
                RECORD
                MEET &
       D,E,
                CONFER            125      n/a          n/a      Both parties present.   (2024-2025)
       F
                TRANSCRIPTS
                                           Dkt .                 Social media, blog
                                                                                         Gjovik (2021).
                                           32, 32-1,             posts, government
                GOBBLER APP                32-2                  complaints and
       G                          6                     Gjovik
                PHOTOS                     (Second               motions, more.
                                           Amend.
                                                                                         Apple (2021-)
                                           Complaints            Apple's servers.

                                                                 C.F.R. Notice &
                GOBBLER                                          Comment submission;
       H                          48       n/a          n/a                            Gjovik (2023)
                COMPLAINT                                        also posted on social
                                                                 media and web.

                                           Dkt. 35-12
                APPLE /                               Gjovik     U.S. DOL                Apple (2022)
                                           pg. 34
       I        PRIVACY           16                  (2023-
                                           Dkt. 95
                ARTICLE                               2024)      News Article            Gjovik (2021)
                                           pg. 18
                "JUSTICE AT                                      Published               Gjovik
       J                          9        n/a          n/a
                APPLE"                                           Open Letter             (2022)
                DECLARATION
                                                                 January 2024 USDC       Gjovik
       K        OF THOMAS LE      18       n/a          n/a
                                                                 Conference              (2024)
                BONNIEC
       L,M,     BLOG POSTS        74       n/a          n/a      Publication
                                                                                         Gi ovik
       N                                                                                 (2022-2023)
                                           Dkt.                  U.S. DOL case file.     Apple (2022)
                APPLE'S 2022                            Gjovik
       O                          15       155-2
                OSHA FILINGS                            (2025)
                                           (excerpt)             U.S. DOL FOIA.          Gjovik (2024-25)


                                                                                                            1
(44 of 62), Page 44 of 62   Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 44 of 62


                                                                                         Agent of Apple
                                                                USDC, Western
                                           Dkt. 96                                       (2022)
                Gjov1K's DO]                           Gjovik   Washington
       P                          327      Pg 73
                MEMO                                   (2024)
                                           (excerpt)                                     Gjovik
                                                                social media, website.
                                                                                         (2022)




                                                                                                          2
(45 of 62), Page 45 of 62   Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 45 of 62




            1.   EXHIBIT C: EMAILS WITH DEFENDANT
                   ABOUT THEIR MIDNIGHT MOTION




                                                                                       3
(46 of 62), Page 46 of 62           Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 46 of 62


      RE: Gjovik v. Apple - 9th Circuit appeal 25-2028
      From       Ashley M. Gjovik (Legal Matters) <legal@ashleygjovik.com>

      To         Riechert, Melinda < mriechert@orrick.com >

      CC         Ashley Gjovik<ashleymgjovik@protonmail.com>, Quilici, Jeffrey<jquilic:i@orrick.com>,
                Luo, Ashley<aluo@orrick.com>, Horton, Nicholas J.<nhorton@orrick.com>,
                 Mantoan, Kathryn G.<kmantoan@orrick.com>, Perry, Jessica R.<jperry@orrick.com>

      Date      Wednesday, May 14th, 2025 at 10:47 PM


      Counsel,


      I object to your false accusations and your continued refusal to meet/confer I also raise again that you are coming to me with these
      vague urgent requests -- now escalating at 10:46 PM at night.

      You only told me that you plan to file a motion asking for an extension, but you would not tell me why. You still have not told me why or
      tried to negotiate. For instance, if your reason for the extension made sense, and you were willing to agree to stay discovery in the
      lower court as part of the agreement to grant the extension, I might say okay.

      You also said you might file other things but did not confirm if you actually plan to file them or not. You cannot say that I refused to
      respond on topics in potential hypothetical motions that you have not confirmed you even plan to file.

      I ask that you either actually meet/confer on the motions you actually plan to file, and/or include a copy of this exchange, including my
      responses, with your filing - so the court can judge for themself on if either party was acting in bad faith.

      -Ashley




      Ashley M. Gj¢vik

      BS, JD, PMP



      Sent with Proton Mail secure email.


      On Wednesday, May 14th, 2025 at 10:33 PM, Riechert, Melinda <mriechert@orrick.com> wrote:

           Ashley,



           As yesterday's events demonstrated, you are not conferring in good faith and refusing to provide an answer
           is the same as opposing. We've informed you that we are seeking a 30-day extension to respond to your
           motion for an injunction. We've also informed you that we are moving to strike your late filed declarations
           and exhibits which were not filed with your motion as required by the 9th Circuit rules. And finally, we've
           already explained why your position that you are not required to serve Apple with papers you file under seal
           with the Court is wrong. Nothing more is required and we are not going to continue to argue with you about
           this. We'll proceed to file our motion.
(47 of 62), Page 47 of 62          Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 47 of 62




         Melinda Riechert



         Partner




         Orrick
         Silicon Valley   EMI




         T 650/614-7423
         M 6507591929
         mriechert@orrick.com




                          O
         orrick


         From: Ashley M. Gjovik (Legal Matters) <legal@ashleygjovik.com>
         Sent: Wednesday, May 14, 2025 7:20 PM
         To: Riechert, Melinda <mriechert@orrick.com>
         Cc: Ashley M. Gjlavik <ashleymgjovik@protonmail.com>, Quilici, Jeffrey <jquilici@orrick.com>, Luo, Ashley
         <aluo@orrick.com>, Horton, Nicholas J. <nhorton@orrick.com>, Mantoan, Kathryn G. <kmantoan@orrick.com>, Perry,
         Jessica R. <jperry@orrick.com>
         Subject: RE: Gjovik V. Apple - 9th Circuit appeal 25-2028




         [EXTERNAL]

         Counsel,




         I have not opposed your motion. I have requested twice now that you simply provide more information. If you tell the court I oppose
         your motion or claim any affirmative statement from me, it is a false statement to the court by you.




         Ashley M. Gj¢vik
(48 of 62), Page 48 of 62           Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 48 of 62

         BS, JD, PMP




         Sent with Proton Mail secure email.




         On Wednesday, May 14th, 2025 at 10:03 PM, Riechert, Melinda <mriechert@orrick.com> wrote:




            We will notify the Court that our motion is opposed.




             Melinda Riechert



            Partner




            Orrick
            Silicon Valley   8

             T 650/614-7423
             M 6507591929
             mriechert@orrick.com




                             C
            orrick



            From: Ashley M. Gj(25vik <ashley_mgjovik@protonmail.com>
            Sent: Wednesday, May 14, 2025 6:41 PM
            To: Riechert, Melinda <mriechert@orrick.com>
            Cc: Ashley M. Gjovik (Legal Matters) <@gz@ashleygjovik.com>, Quilici, Jeffrey <jguilici@orrick.com>, Luo, Ashley
            <aluo@orrick.com>, Horton, Nicholas J. <nhorton@orrick.com>, Mantoan, Kathryn G. <kmantoan@orrick.com>,
            Perry, Jessica R. <jperry_@orrick.com>
            Subject: RE: Gjovik v. Apple - 9th Circuit appeal 25-2028
(49 of 62), Page 49 of 62           Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 49 of 62



            [EXTERNAL]

           Counsel,




           You have now sent me unexpected emails at 8:08 PM and 9:13 PM tonight, urgently requesting my "position on [your] requested
            relief," still without identifying the majority of the relief you are actually seeking, or providing any legal basis for it.




           As for the one thing you have provided more details on, to be clear:

                .   You previously stated Apple had no obligation to respond in this appeal, and discouraged me (in writing) from filing
                    declarations or exhibits.
                .   You are now threatening to strike those same filings and compel service of sealed documents - while refusing to identify
                    the specific rules or procedures you are relying on.

           (see attached).




           You also have said you do plan to request an extension for your response to the Motion for Injunction, but have not told me if
           you're asking for my stipulation, or the basis for your request. And again, you told me last week (in writing), that you believe
           Apple does not need to file anything, and claimed there are no deadlines. (see attached).




           Please clarify:

                    What specific relief Apple intends to request.
                    The rule or authority supporting each form of relief.
                    Whether Apple is attempting to meet and confer in accordance with 9th Cin R. 27-1, and if so, when it intends to satisfy
                    its obligation to explain the grounds for each motion.




           I remind you that:

                .   Meet-and-confer requires disclosure of the legal basis and proposed terms for relief, not vague or time-pressured
                    demands.
                .   Pro se litigants are entitled to fair process and reasonable clarity, under both Ninth Circuit precedent and California Rules
                    of Professional Conduct, including Rules 3.3, 3.4, and 4.1.
                .   Late-night deadlines without explanation - paired with contradictory procedural statements - create the appearance of
                    tactical obstruction and bad faith.




           I remain available to respond to any specific, grounded request. Please clarify your position so we may proceed accordingly.
(50 of 62), Page 50 of 62              Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 50 of 62

           Sincerely,

            -Ashley




           Ashley M. Gj¢vik

           BS, JD, PMP




           Sent with Proton Mail secure email.




           On Wednesday, May 14th, 2025 at 9:13 PM, Riechert, Melinda <mriechert@orrick.com> wrote:


               Ashley,




               Our motion will seek a 30-day extension of the time to file our opposition to your motion for an injunction, as well as to strike
               your late-filed declarations and exhibits and direct you to serve the sealed materials immediately.




               We understand your response to indicate that you oppose the requested relief. Please let us know if we are mistaken.




               Melinda Riechert



               Partner




               Orrick
               Silicon Valley   (EMI




               T 650/614-7423
               M 6507591929
               mriechert@orrick.com




                                o
               orrick
(51 of 62), Page 51 of 62         Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 51 of 62




              From: Ashley M. Gjovik (Legal Matters) <@gal           ashleygjovik.com>
              Sent: Wednesday, May 14, 2025 5:51 PM
              To: Riechert, Melinda <mriechert@orrick.com>
              Cc: ashley_mgjovik@protonmail.com; Quilici, Jeffrey <jguilici@orrick.com>; Luo, Ashley <aluo@orrick.com>;
              Horton, Nicholas J. <nhorton@orrick.com>, Mantoan, Kathryn G. <kmantoan@orrick.com>, Perry, Jessica R.
              <jperry_@orrick.com>
              Subject: Re: Gjovik v. Apple - 9th Circuit appeal 25-2028




               [EXTERNAL]

              Hello Counsel,




              You asked me to state my "position on the requested relief." However, your email identifies only a potential request for an
              extension, while speculating you may also move to compel service of sealed materials and/or strike some or all of my filings.




              You have not identified :

                  .   The specific relief you intend to seek,
                  •   The legal basis for any such relief, or
                  •   Any policy or procedural authority supporting these speculative motions.




              It is unclear whether your message constitutes an attempt to meet and confer under applicable rules. You previously stated
              you would no longer engage with me regarding this appeal, yet you are now seeking informal agreement. If you are asking
              whether I would stipulate to an extension in lieu of a motion, please clarify that directly.




              Regarding sealed materials: as I have already made cleat; I will not serve sealed documents that contain confidential
              communications with law enforcement or address ongoing investigations involving Apple. I will also not waive my attorney-
              client privilege in this context.




              As to striking filings, you have not identified which documents or sections you believe are deficient, nor have you explained
              the basis for seeking to strike them. If you are attempting to meet and confer, you must identify the specific filings at issue
              and explain why you believe they are improper. Only then can I assess your request and determine whether I would consider
              withdrawal or revision.
(52 of 62), Page 52 of 62        Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 52 of 62



              To proceed constructively, I suggest that you :

                     Clearly identify the specific relief you intend to seek,
                     Provide your legal and factual basis for each item,
                     Clarify whether you are requesting my agreement in lieu of a formal motion.




              -Ashley




              Ashley M. Gj¢vik

              BS, JD, PMP




              Sent with Proton Mail secure email.




              On Wednesday, May 14th, 2025 at 8:08 PM, Riechert, Melinda <mriechert@orrick.com> wrote:


                  Ashley,




                 In light of your filings Monday and Tuesday, and your refusal to serve sealed materials, we intend to file a motion to
                 extend Apple's deadline to respond to your Motion for Injunction in the Ninth Circuit. The motion may also seek to
                 compel service of sealed materials and/or to strike some or all of your filings. Please let us know your position on the
                 requested relief.




                  Melinda Riechert



                  Partner
(53 of 62), Page 53 of 62           Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 53 of 62

                  Orrick
                  Silicon Valley ET



                   T 650/614-7423
                  M 6507591929
                  mriechert@orrick.com




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                  orrick




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                  advance for your cooperation.


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(54 of 62), Page 54 of 62               Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 54 of 62




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(55 of 62), Page 55 of 62           Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 55 of 62


      Re: Gjovik v. Apple Inc. 25-2028 - 013 - Opening Brief Submitted for Filing
      From     Ashley Gjovik <ashleymgjovik@protonmail.com>
      To       Quilici, Jeffrey<jquilici@orrick.com>
      CC       Perry, Jessica R.<jperry@orrick.com>, Riechert, Melinda<mriechert@orrick.com>,
               Mantoan, Kathryn G.<kmantoan@orrick.com>

      Date     Monday, May 12th, 2025 at 6:58 PM


      Subject: Filing of Motion to Sea/ - Gjovik in Apple, No. 25-2028

      Hi Mr. Quilici,

      I hope this message finds you well. I'm writing to serve my Motion to File a Declaration and Exhibit Under Seal and the accompanying
      Certificate of Service in compliance with the Ninth Circuit's sealed filing procedures.

      As outlined in the motion, I am not serving the sealed declaration or exhibits on Appellee at this time. This is consistent with Ninth
      Circuit Rule 27-13, which allows litigants to request that sensitive documents remain nonpublic and unserved pending the Court's review.
      The materials submitted under seal include personal financial information, privileged attorney-client records, and communications with
      federal law enforcement agencies regarding potential criminal violations. Given the nature of these filings - including public safety risks
      and potential prejudicial disclosures - I have requested that they not be served unless and until the Court orders otherwise.

      Regarding the financial documents (Category Three), I am open to providing redacted versions upon request, if necessary for discussion.
      However these materials would likely be exchanged in discovery in the ordinary course of litigation.

      Please let me know if you have any questions or wish to discuss a service protocol contingent on the Court's ruling.

      Sincerely,
      Ashley M. Gj¢vik
      Pro Se Appellant-plaintiff
      BS, JD, PMP

      Sent with Proton Mail secure email.

      On Friday, May 9th, 2025 at 5:13 PM, Quilici, Jeffrey <jquilici@orrick.com> wrote:


           Ms. Gjovik,




           We disagree with your inaccurate statements and characterization of our conduct. However, it appears that
           further dialogue is likely to be unproductive so I will not continue to engage with you regarding this topic.




           Sincerely,

           JeffQ.
(56 of 62), Page 56 of 62             Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 56 of 62

         Jeff Quilici


         Of Counsel



        Orrick
        Austin 'EJ


         T +1-512-582-6916
         jguilici@orrick.com




                        O
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        Confidential. May contain privileged or work-product information.




        From: "Ashley M. Gjlbvik" <ashleymgjovik@protonmail.com>
        Date: Thursday, May 8, 2025 at 7:21 PM
        To: "Quilici, Jeffrey" <jquilici@orrick.com>
        Cc: "Perry, Jessica R." <jperry@orrick.com>, "Riechert, Melinda" <mriechert@orrick.com>, "Mantoan, Kathryn G." <kmantoan@orrick.com>
        Subject: Re: Gjovik V. Apple Inc. 25-2028 - 013 - Opening Brief Submitted for Filing




         [EXTERNAL]

        Hi Mr: Quilici,

        Please see the attached letter memorandum, which I am also filing with the Ninth Circuit in support of my Motion for Injunction
        Pending Appeal.



        As reflected in the record, I contacted you on May 7 2025 in a good-faith effort to coordinate on the Excerpts of Record and
        supporting exhibits, consistent with Ninth Circuit guidance encouraging cooperation to reduce the burden on the Court. You declined
        to collaborate, refused to provide any examples of materials you believed appropriate or necessary for the record, and expressly
        stated that you would not participate further in the process.



        You also acknowledged my same-day notice that the exhibits would be filed separately, and substantively engaged with that plan-
        confirming receipt and stating you believed no additional materials were needed. This demonstrates both timely notice and your
        opportunity to raise any objections, which you declined.



        Separately, I requested clarification regarding who should be included on communications, after Melinda informed me she was not
        involved in the appeal. You responded that I should include "everyone who has noticed an appearance," but then selectively copied
        three attorneys-excluding Ryan Booms, who has in fact filed a notice of appearance and remains listed on the docket. Meanwhile,
        you included Melinda, despite her earlier refusal to confer. Please clarify which counsel are actively involved and in what capacity.
(57 of 62), Page 57 of 62         Case: 25-2028, 05/15/2025, DktEntry: 24.1, Page 57 of 62


        As for the pending filings before the Ninth Circuit, I understand that you have declined further engagement, and I will proceed
        independently from this point forward.



        Respectfully,

        Ashley M. Gjovik

        Pro Se Appellant




        Ashley M. Gj¢vik

        BS, JD, PMP




        Sent with Proton Mail secure email.



        On Thursday, May 8th, 2025 at 4:14 PM, Quilici, Jeffrey <jquilici@orrick.com> wrote:



           Ms. Gjovik,



           Thanks for reaching out. l'll try to walk through the issues you raise below in a sensible order. One initial
           matter, though: in the future, please copy all of the Orrick attorneys listed on the Ninth Circuit matter, as
           l've done here.



           I want to start with a small point at the end of your email, because it relates to much of what l'll say below.
           You noted that you lost sleep in order to file your opening brief "on time," and I confess I was surprised
           you chose to file an opening brief now. As Apple noted, the briefing schedule was automatically stayed
           under circuit rules when Apple filed its motion requesting dismissal of the appeal. See Dkt. 5.1 at 1 n.2
           (citing 9th Cir. Rule 27-11(a)(1 )). No opening brief was due until the court acts on that motion and, if
           appropriate, issues a new briefing schedule. Neither has happened yet. For the same reason, Apple
           does not presently "have a deadline to respond" to your brief, as you suggest.



           You also asked about the contents of an "Appendix" you plan to file. I agree that as a pro-se filer you were
           not required to file Excerpts of Record (which this court requires instead of an Appendix, see 9th Cir. Rule
           30-1) alongside your brief. That said, if you choose to file Excerpts anyway, they-like all of your filings-
           must conform to the court's rules, including 9th Cir. Rule 30-1 .4, which dictates the contents of the
           Excerpts. You haven't identified exactly what you plan to include, but you say below that it's at least "all
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           orders, complaints/answer, joint case mgmt statements, hearing transcripts, and hearing minutes," plus
           additional "excerpts of exhibits and other filings."



           I disagree that most of that very broad list is appropriate. Your notice of appeal states that it is taken from
           "the final judgment and related dismissal orders" entered by the district court, including DE 179. Leaving
           aside that there is no final judgment (as the district court again confirmed in denying your Rule 54(b)
           motion below), only orders dismissing claims arguably fall within that notice. And with the exception of the
           most recent partial dismissal order (DE 179), all the dismissal orders issued far more than 30 days before
           your notice of appeal, so the ninth Circuit lacks jurisdiction over them at this time. See Dkt. 5.1 at 8 n.7
           (citing Fed. R. App. P. 4(a)(1)). For the same reason, the earlier complaints and other papers are not
           "parts of the record that are relevant to deciding the appeal." 9th Cir. R. 30-1 .4(b).



           In short, the only order from which you've timely noticed an appeal is DE 179. And as Apple explained in
           its motion to dismiss, that order is plainly interlocutory on its face, and thus not appealable at this time.
           The denial of your Rule 54(b) motion only confirms that conclusion. So at this point, if you do intend to file
           something, I would ask only that you include DE 179 itself, the briefing that led to it, the Fifth Amended
           Complaint to which it pertains, and the denial of your Rule 54(b) motion. But I think the better course
           would be to save the effort and wait until the motions panel rules on the pending motion to dismiss-there
           may be no reason to file Excerpts at all, and there are no deadlines at present. Apple will consider what to
           include in a Supplemental Excerpts of Record if and when filing one ever becomes necessary.



           Finally, as to your Motion for Injunction, I won't comment on the merits at this stage, but I will point out one
           thing: I think you say below that you plan to include materials in the "Appendix" that relate only to the
           Motion, such as a declaration, materials from other proceedings, and so on. That's not permitted, anything
           you rely on to support your motion, such as exhibits or declarations, "must be served and filed with the
           motion." Fed. R. App. P. 27(a)(2)(B)(2).



           I also appreciate your offer to provide materials, that won't be necessary.



           Sincerely,

           Jeff Q.


           Jeff Quilici
           Of Counsel

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              On May 7, 2025, at 7:13 PM, Ashley M. Gjlavik <ashleymgjovik@protonmail.com> wrote:




               [EXTERNAL]

              Hey Jeffrey,



              I'm working my Appendix/Excerpts for the Ninth Circuit brief and targeting to file it tomorrow, along with declarations and
              request for judicial notice. (This is a lot of work!)



              Last week Melinda said something like she has nothing to do with the appeal, so I'm just emailing you directly. If there's other
              Orrick counsel who filed notices and are actually working on the appeal, feel free to let me know or cc them yourself in a
              response.



              It appears that because I'm pro seI don't have to file the formal appendix or follow the appendix creation procedures, but for
              sake of efficiency, I wanted to ask you if there's anything specific you want included in it when when I file it. I'm planning on
              including all orders, complaints/answen joint case mgmt statements, hearing transcripts, and hearing minutes. Then I'll
              include some excerpts of exhibits and other filings as applicable to my arguments. If there's not anything in the above list that
              you want to include, let me know, and maybe we can file a final version this week -- I bet they'd like that.



              As for the request for injunction I filed today, I plan to include some of the case records as noted above (as well as my filings
              requesting relief which were denied), and I will request judicial notice of case documents in Lopez, Epic, e8ay, Levon Moyer,
              and Raniere (in, indictments, orders, decisions, DOJ press releases, settlement agreements). My declaration will then include
              exhibits from the record, emails with counsel, meet/confer transcripts, and also Apple's privilege log from the district court
              litigation.



              Because I will likely be a day late filing the exhibits (I didn't sleep for a few days trying to file on time and am still behind) and
              you have a deadline of which to respond that starts with the motion/brief, I wanted to ensure you were on notice as to what
              else was coming.



              Let me know if you have any questions or if you need early copies of anything. I assume the district court counsel already
              provided you with emails/privilege log/etc.
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              -Ashley

              Pro Se Plaintiff-Appellant




              Ashley M. Gjuvik

              BS, JD, PMP




              Sent with Proton Mail secure email.



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              From: ACMS@ca9.fedcourts.us <ACMS@ca9.fedcourts.us>
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                 Notice of Docket Activity


                 The following transaction was entered on 05/06/2025 11:54:28 PM PDT and filed on 05/06/2025


                 Case Name: Gjovik V. Apple Inc.



                 Case Number: 25-2028


                  Docket Text:
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                     OPENING BRIEF submitted for filing by Appellant Ashley M. Gjovik.--[COURT UPDATE: Attached
                     addendum, filed at DE 14] [Entered: 05/06/2025 11:58 PM] [Edited: 05/07/2025 11:45 AM]



                     Document: Brief
                     Document: Addendum




                     Notice will be electronically mailed to:


                     Ashley M. Gjovik , ashleygjovik@recap.email, ashleymgjovik@protonmail.com
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